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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

  DALANEA TAYLOR; TAMMY
  HEILMAN; DARLENE DEEGAN;
  and ROBERT A. JONES III,

               Plaintiffs,
  v.                                            CASE NO.: 8:21-cv-00555-SDM-CPT

  CHRIS NOCCO, in his official
  capacity as Pasco County Sheriff,

               Defendant.                              Dispositive Motion
                                               /

             DEFENDANT SHERIFF NOCCO’S AMENDED MOTION
                FOR SUMMARY JUDGMENT ON ALL CLAIMS

        Defendant Pasco County Sheriff Nocco, by and through undersigned counsel,

  and pursuant to Federal Rule of Civil Procedure 56 and the Court’s Case

  Management Orders, hereby moves the Court for entry of summary judgment in his

  favor on all remaining claims in the case, and states:

        1.     Plaintiffs allege that their rights under the First, Fourth, and Fourteenth

  Amendments have been violated and that the Sheriff is liable for those violations

  under Monell v. Dep't of Social Services of the City of New York, 436 U.S. 658 (1978)

  as “caused by” the Sheriff’s Intelligence Led Policing Program (ILP). The central

  claim is that ILP designated certain persons as “prolific offenders” and the Sheriff

  visits the homes of prolific offenders to “harass” them.
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          2.     The Court should grant summary judgment to the Sheriff on all claims

  first because the Plaintiffs have not shown a violation of their constitutional rights.

          3.     Independently, Plaintiffs cannot show that an official policy or custom

  of the Sheriff “caused” any given violation as contemplated by Monell. To the

  contrary, the evidence is that there is no formal policy of the Sheriff that instructs

  deputies how to engage in any given prolific offender check and there is no

  consistent pattern to the interactions such as to conclude that there was an

  unconstitutional Monell custom that caused a violation of Plaintiffs’ rights.

          4.     It is anticipated that Plaintiffs will file with the Court excerpts of body

  worn camera (BWC) videos of interactions that Plaintiffs had with Pasco deputies.

  Defendant will file with the Court all of the available BWC footage. (See Dkt. 114.)1

  Akin to a qualified immunity analysis, the Court will have to “slosh its way through

  the factbound morass”2 of these interactions.

          5.     Plaintiffs seek reimbursement for fines they paid for code violation

  citations. But they paid the fines and fixed the deficiencies noted in the citations,

  and otherwise make no claim that the citations were objectively incorrect. Their

  claims for such relief are barred by Heck v. Humphrey, 512 U.S. 477 (1994).


  1
    Defendant anticipates sending the flash drive to the Court this week, which
  Plaintiffs’ counsel states is acceptable to Plaintiffs, but will advise if there is any
  delay.
  2
      Scott v. Harris, 550 U.S. 372, 383 (2007).
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        6.     Plaintiffs lack standing as to future injunctive relief because none of

  them or their family members are currently designated as prolific offenders and none

  has established a likelihood that they (or a family member) will be characterized as

  a prolific offender in the future.

        7.     If Plaintiffs’ request is that the Court direct the Sheriff to generally

  discontinue or to modify ILP in some specific way, Plaintiffs have failed to justify

  such relief and it would violate principles of federalism and separation of powers.

        8.     The Sheriff is entitled to summary judgment on claims of individual

  Plaintiffs for a variety of reasons.

        9.     Plaintiff Heilman has no viable Fourth Amendment claim related to her

  two arrests as she pled or was found guilty of, and convicted of, offenses in all cases

  in which she was arrested such that Heck defeats any claim that her Fourth

  Amendment rights were violated.

        10.     All of Plaintiff Jones’ claims in the case are barred by the statute of

  limitations as all incidents involving him or his son Robert Jones occurred more than

  four years prior to the filing of the lawsuit. That is beyond the statute of limitations

  applicable to §1983 claims in Florida.

        11.    The Sheriff should be granted summary judgment on any claim by

  Jones that he was unconstitutionally arrested for failure to appear for code citation

  hearings, claiming that he did not receive the citations or notice of the hearings. The


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  evidence shows that the warrants were lawfully issued, barring any Fourth

  Amendment claim by him as a matter of law.

        WHEREFORE, Defendant Sheriff Nocco moves the Court for summary

  judgment in his favor on all claims against him.



                            MEMORANDUM OF LAW

        I.     Key Monell principles

         “To impose Monell liability, a plaintiff must show: (1) that his constitutional

  rights were violated; (2) that the municipality had a custom or policy that constituted

  deliberate indifference to that constitutional right; and (3) that the policy or custom

  caused the violation…” Underwood v. City of Bessemer, 11 F.4th 1317, 1333 (11th

  Cir. 2021) (internal quotations and citations omitted).

        Locating a “policy” ensures that a municipality is held liable only for
        those deprivations resulting from the decisions of its duly constituted
        legislative body or of those officials whose acts may fairly be said to be
        those of the municipality. Similarly, an act performed pursuant to a
        “custom” that has not been formally approved by an appropriate
        decisionmaker may fairly subject a municipality to liability on the
        theory that the relevant practice is so widespread as to have the force
        of law.

        Board of County Comm’rs of Bryan County, Okla. V. Bryan, 520 U.S.
        397, 403-04 (1997) (citations omitted).




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        For a custom to be widespread to the point that it is a Monell custom, Plaintiffs

  must show that it is so common that it can fairly be said to represent “official” policy.

        Monell limits what may constitute “custom.” Custom consists of those
        practices of city officials that are “so permanent and well settled” as to
        have “the force of law.” In defining custom in this fashion the Monell
        Court borrowed language from Adickes v. S.H. Kress & Co., 398 U.S.
        144, 167–68, 90 S.Ct. 1598, 1613–14, 26 L.Ed.2d 142 (1970), which
        defines the term “custom” as “persistent and widespread ... practices”
        or practices that are “permanent and well settled” or “deeply embedded
        traditional ways of carrying out ... policy.” Monell additionally teaches
        that the city custom which may serve as the basis for liability may only
        be created by city “lawmakers or those whose edicts or acts may fairly
        be said to represent official policy.”

        Gilmere v. City of Atlanta, 737 F.2d 894, 901-02 (11th Cir. 1984)
        (internal citations and footnotes omitted).

         “But for” causation has repeatedly been held to be insufficient for Monell

  liability to attach. See Bryan, 520 U.S. at 410; City of Springfield, Mass. v. Kibbe,

  480 U.S. 257, 267–68 (1987) (same); see also Pembaur v. City of Cincinnati, 475

  U.S. 469, 484 n.11 (1986), citing City of Oklahoma City v. Tuttle, 471 U.S. 808

  (1985) (same).

        To the extent that Plaintiffs’ argument is that but for either a prolific offender

  designation or but for the performance of a prolific offender check a given

  constitutional violation would not have occurred, the Monell causation linkage is

  insufficient. Ruiz-Cortez v. City of Chicago, 931 F.3d 592, 599 (7th Cir. 2019) (citing

  Wilson v. Cook Cty., 742 F.3d 775, 784 (7th Cir.2014)). See also Wilson v. Longview

  School District, 775 Fed. Appx. 277, 280 (9th Cir.2019) (citing Van Ort v. Estate of
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  Stanewich, 92 F.3d 831, 837 (9th Cir. 1996) (“Pointing to a municipal policy action

  or inaction as a ‘but-for’ cause is not enough to prove a causal connection under

  Monell. Rather, the policy must be the proximate cause of the section 1983 injury.”)

               I.    Undisputed Facts.

     A. How a person is designated a prolific offender.

        The ILP written policy is the ILP manual. The relevant versions here were

  adopted in 2016, 2017, 2018, and 2021. The 2016, ’17, and ’18 versions are attached

  as Exhibits A, B, and C. The last of these, the 2021 version, was split into two

  documents. The manual, which is a shorter descriptor of ILP, and then a directive,

  which describes in greater detail the law enforcement operation of ILP.           The

  descriptor, still called the manual, is attached as Exhibit D. The directive, however,

  is subject to a confidentiality agreement by the parties and is considered by the

  agency to be law enforcement privileged and will be filed under seal. (See Dkt. 114).

        The most significant repeating crime problems in Pasco County, designated

  as the “Big Four,” are auto burglary, burglary of a residence or structure, burglary

  of a business, and vehicle theft. The ILP philosophy is that law enforcement

  resources are better spent not simply reacting to crime but to identify those

  circumstances and persons where crime is ongoing and likely to recur. (Exhibit C,

  pp. 4, 15-16)




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           Plaintiffs’ opening comment in the operative complaint is that ILP “predicts

  that certain people may commit future crimes, and then it harasses these people….”

  (Dkt. 41, p, 1). The process of deploying resources to interrupt ongoing criminal

  environment and activity is far more sophisticated than Plaintiffs describe. ILP

  relies on ongoing behavior to assess probable scenarios and developments but does

  not have a “crystal ball[]” to predict the future. (January 26, 2022, Deposition of

  Krause, p. 40, lines 1 through p. 42, line 19).

           1)    Every quarter, the ILP unit uses a computerized database of the Pasco

  County Sheriff’s own documents to create a prolific offender pool. All persons who

  have been arrested two or more times in Pasco County within the prior three years

  are in that general pool. It is typically comprised of approximately 1,100 to 1,800

  persons. (September 23, 2021, Kraus Deposition, p. 25, lines 3-9; Exhibit C, p. 75;

  p. 17)

           2)    The agency applies scoring parameters to the prolific offender pool,

  which assigns higher points for certain type of criminal activity. (See e.g. Exhibit

  C, p. 75.) Five points are assigned for arrests involving homicide or firearms or

  human trafficking, 3 or 4 points are assigned for Big Four offenses, 2 points assigned

  for grand theft pawn/scrap violation offenses, narcotics (except marijuana), with

  moderated enhancements for failure to appear and violation of probation, or where




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  the person appears in five or more reports as “other involvement.” (September 23,

  2021, Kraus Deposition, p. 26, line 23 through p. 27, line 5).

        3)     By applying the scoring system, the agency identifies the

  approximately top 100 offenders, and distributes that list to staff crime analysts

  within each district for further review. The crime analysts review each person on

  the list of top offenders and reviews agency reports concerning each person. The

  crime analysts may consult with command staff as to their own experience with each

  person and the role that person plays in the criminal environment. (September 23,

  2021, Kraus Deposition, p. 27, line 13 through p. 28, line 16).

        4)     The ultimate criteria applied to a given person on the list so as to

  determine whether that person will be designated a prolific offender is whether that

  person is “active in the current crime environment.” (September 23, 2021, Kraus

  Deposition, p.28, lines 14-16; See also 2021 ILP Directive, filed under seal, p. 7);

  (Deposition of Burch, p. 16, line 16, through p. 17, line 16).

        5)     Analysts typically receive a list for their own district of 30 to 50 names

  and often the analyst will recognize the names. There is no set number of persons

  to be so designated. (Burch, p. 17, line 17, through p. 19, line 10).




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        6)     Those persons identified as prolific offenders3 are typically included in

  briefings for deputies or command staff in each district, often on power points, or

  slides, called Actionable Intelligence Meeting (AIM) slides. The AIM slides will

  recount for deputies and command staff recent criminal activity in the district and

  also identify prolific offenders and their associates. (Exhibit C, p. 42; Deposition of

  Gardner, p. 49, line 11 through p. 50, line 6).

        7)     A prolific offender may be a juvenile. Juveniles prolific offenders are

  calculated in the same manner as an adult prolific offender. The agency recommends

  to the State Attorney’s Office that a juvenile prolific offender be charged and

  adjudicated as an adult when the juvenile meets the definition of prolific offender

  and has committed a serious and violent offense or has had a significant impact on

  crime. (Exhibit C, pp. 18-19)

        8)     Agency personnel are required by the manual to perform a face-to-face

  prolific offender check (hereinafter “POC”) a minimum of once every quarter. The

  manual includes performance expectations for POCs, and deputies are to learn as

  much as possible about prolific offenders, including acquaintances, locations


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   For a time, the Sheriff’s Office utilized other designations besides prolific offender,
  including “Top 5 Offenders” but use of that designation has been discontinued.
  (Gardner deposition, p. 61, lines 10-15). Another is Target of the Month. That
  designation refers to a person who is wanted on warrants and may or may not be a
  prolific offender. (Kraus affidavit).


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  frequented, etc. (Exhibit C, p. 19).     The ILP manual suggests that deputies use

  enhanced interviews to obtain information about the criminal environment. This

  might include knowledge of other criminal activity in the area.            (Id., p. 43)

  (Deposition of Sanborn, p. 23, line 11 through p. 24, line 5).

        9)     The ILP Manual DOES NOT direct deputies on how to conduct POCs.

  It does not direct deputies with any specificity as to their demeanor or actions during

  a POC; it does not contain any direction or information as to when or how to conduct

  searches or conduct any particular investigation; it does not direct their frequency

  (other than once a quarter). It does not direct deputies that constitutional rights of

  prolific offenders or their families are in any way lessened by the prolific offender

  status. No ILP manual or other written material directs deputies to deviate in any

  way from the Sheriff’s General Orders. (Affidavit of Krause).

        10)    The Sheriff’s General Orders provide, among other things, that deputies

  must respect the constitutional rights of all citizens. (Exhibit D, General Order 1.2:

  “It is the policy of the Sheriff’s Office to comply with all state and federal laws, and

  to preserve and protect the constitutional rights of all citizens.”) Plaintiffs have not

  identified any written policies to the contrary.

        11)    The ILP manual also encourages deputies to offer or promote local

  services to prolific offenders. (Exhibit C, pp.14-15). It is a goal of ILP to reduce




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  recidivism, including through the offer of services. (Deposition of Sanborn, p. 80,

  line 20, through p. 81, line 2).

        12)    However, where criminal offenses are committed by prolific offenders,

  the Sheriff’s Office has a zero-tolerance arrest policy. Exhibit C, p. 19; Deposition

  of Sanborn, p. 88, lines 5-13). The policy remains the same in the 2021 directive.

  (To be filed under seal, p. 9, see Dkt. 114).

        13)    ILP also uses Strategic Targeted Area Response (STAR) to identify

  problem areas, called “STAR boxes,” which are defined as “locations where crime

  is persistently dense over an extended period of time.” As of the 2018 ILP manual,

  agency records reflected that each district had two STAR boxes, each covering

  approximately 7 to 10 square miles. These areas account for approximately 50

  percent of the Big Four and violent crime-focused offenses for that district.

        14)    Deputies are expected to learn the location of the STAR boxes and the

  deputies working within them, to develop knowledge of offenders living within

  STAR boxes, and to stay abreast of emerging crime trends in the area so as to prevent

  future calls. (Exhibit C, p. 22).

        15)    The 2015 STAR manual further breaks down the statistics and notes

  that 20 to 25 percent of the Big Four crimes in the district are committed there. As

  a result, deputies working in areas which include the STAR boxes were expected to

  spend half of their time working in the STAR boxes and the surrounding area. STAR


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  Team members have a zero tolerance for crimes committed within the STAR boxes.

  (Exhibit E, p. 1).

      B. The prolific offenders at issue in this case.

         The agency has a database, begun in 2017, which shows when a person was

  first designated a prolific offender and when that person was last removed from the

  system as a prolific offender. It cannot show whether a person went off the list and

  went back on within those bookended dates. Additionally, a person could have been

  a prolific offender prior to 2017, and that can be determined through other

  documentation, though not as precisely in terms of dates on an and off such

  designation. Of the four named plaintiffs, only Dalanea Taylor was ever identified

  as a prolific offender. She is listed in the above-referenced database from March 30,

  2017, to January 11, 2018.

         Tammy Heilman’s son, Donnie McDougall was designated a prolific offender

  on January 12, 2017, and dropped from that designation on September 21, 2020.

  Tammy Heilman’s other son, Anthony, was not designated a prolific offender,

  although for a very brief time he was identified as a “Target of the Month” because

  he had a warrant out for his arrest.4 Darlene Deegan’s son, Tyler Paneson, was



  4
   That designation is unrelated to prolific offender status or prolific offender checks.
  Anthony McDougall was identified as a Target of the Month for 8 minutes because,
  almost as soon as he was so identified, the arrest warrant at issue was served, taking
  him off the Target of the Month designation. (Affidavit of Brummett.)
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  identified as a prolific offender beginning on January 12, 2017, and last removed

  from the list on October 15, 2021. (Affidavit of Brummett). Mr. Paneson has since

  passed away. Robert Jones IV’s son, Robert Jones III, was a prolific offender for a

  period of time, but the family moved out of the area in April/May of 2016, more than

  four years before filing of the initial complaint on March 10, 2021. (Dkt. 1).

        None of the Plaintiffs or their children are currently prolific offenders.

  (Affidavit of Kraus). Plaintiff has adduced no evidence that they are ever likely to

  have that designation again.

        Though it is Defendant’s understanding that Plaintiffs do not contest the

  prolific offender designations, Defendant notes the following:

        Plaintiff Dalanea Taylor was a self-admitted member of “The Squad,” which

  was a group of young people who engaged in numerous car burglaries (“car

  hopping”). Sometimes, they stole the cars to joy ride. Taylor admitted in 2012 to

  committing approximately 50 car burglaries. (Exhibits N and O). As to Paneson, as

  noted above, it was sometimes Plaintiff Deegan who called to report that Paneson

  was stealing from her and that she wanted him trespassed from her property.

        Donnie McDougall’s Pasco County Clerk and Juvenile Justice records show

  that beginning in 2012 he had well over 50 reported charges, ranging from single

  arrests on multiple felony violation of probation charges to felony grand theft of a

  motor vehicle, to burglary. There are many misdemeanor charges as well, which are


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  protected by statute. Bobby Jones’ Pasco County Clerk and Juvenile Justice records

  show that he had approximately 20 reported charges, including nine felonies and

  multiple pick-up orders or warrants from Pinellas County. (Both to be filed under

  seal, see Dkt. 114).

     C. Visits to residences of Plaintiffs or their children, if designated prolific
        offenders.

        The agency generated a spreadsheet of all visits to the residences of the

  Plaintiffs and their children, from the time each was first designated, beginning as

  early as 2017 when the database began, showing among other things the date of the

  visit and the reason for the visit as indicated by the drop-down menu in the CAD

  report (selected either by dispatch or the deputy). (See Exhibit D to Deposition of

  Brummet, testimony at p. 65, line 22, through p. 67, line 18). The total generated

  among the addresses for the four plaintiffs was 506 reports. Those designated as

  prolific offender checks are highlighted in yellow. Other than reviewing each of the

  506 CAD or incident reports for those involving deputy interactions, this is the best

  means of getting an overview of the nature of the interactions between deputies and

  persons at the residences. (Deposition of Brummett, p. 60, lines 7-15; p. 67, line

  19, through p. 72, line 4).

        There is great diversity as between the percentage of visits to one of the

  Plaintiffs’ addresses designated as a prolific offender check, versus a different cause

  as indicated in the nature field of the CAD report. For example, in cells 401-425,
                                            14
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  the visits for Dalanea Taylor and her address are listed. Fifteen of the visits are

  indicated in the CAD nature field as prolific offender checks, and ten are for reasons

  varying from “person down” (cell 414, dated 9/11/2017) to a report of a prowler

  dated 12/5/2017 (cell 424).

        Compare that to visits generated to Tammy Heilman’s residence, noted to

  have occurred during the time that Donnie McDougall was identified as a prolific

  offender. (See Exhibit D to Brummett deposition, pp. 3-4). There are 107 total

  visits, the vast majority of which are not identified in the CAD nature fields as

  prolific offender checks. Only 23 of the 107 total for the Heilman residence visits

  are identified as prolific offender checks. The other reasons cover a wide range of

  calls for service, including domestic violence (cell 104, 4/25/2020), suicide attempt

  (cell 47, 8/26/2018), and burglary of a residence (cell 17, 7/8/17).

        The depositions of the Plaintiffs confirm that the reasons for visits to these

  residences often had absolutely nothing to do with prolific offender status of any

  resident at Plaintiffs’ home. Ms. Heilman in deposition acknowledged dozens of

  visits to her home by Pasco deputies that had nothing to do with prolific offender

  status of any of her children. Many included Heilman, her husband, or her children

  affirmatively calling the Pasco Sheriff’s Office for assistance. These included:

        On June 6, 2016, there was a call for service by Donnie to the PCSO regarding

  his girlfriend threatening suicide.     (Deposition of Heilman, Exhibit 11). On


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  September 28, 2016, Donnie McDougall called EMS to report that Heilman was not

  breathing. (Id., Exhibit 12). On November 17, 2016, Heilman’s daughter, Tyler,

  called 911 because Donnie McDougall was “going crazy” and spitting on her. (Id.,

  Exhibit 13). Twelve days later, on November 29, 2016, Donnie called 911 because

  Tyler sprayed Donnie with Mace. (Id., Exhibit 14). On May 6, 2017, Heilman’s

  Husband Jeff Zander, called 911 requesting that Pasco County Sheriff’s remove six

  juveniles from the residence, including Donnie. (Deposition of Heilman, p. 54, line

  18 through p. 55, line 6; Exhibit 16).

        On March 13, 2018, deputies responded to Heilman’s residence because Mr.

  Zander called the Sheriff’s Office and reported that Donnie had pointed a revolver

  at him. (See Exhibit F to this motion; Heilman, p. 63, lines 5-20). On March 25,

  2019, deputies responded to Heilman’s residence due to a report that, among other

  things, Heilman’s nephew threatened to slit her throat. (Heilman deposition, Exhibit

  21; p. 69, line 14, through p. 70, line 19). Other calls for service are attached to her

  deposition and Heilman readily agreed that many visits to her home were not prolific

  offender checks. (Heilman, p. 76, lines 9-10).5


  5
    There were many others. For example, n June 26, 2019, Pasco County Sheriff’s
  responded to Heilman’s residence due to a call from Donnie’s girlfriend who stated
  that an individual made threats to either shoot up or burn the house down.
  (Deposition of Heilman, p. 77, line 9 through p. 79, line 6; Exhibit 23). On April
  25, 2020, deputies responded to a domestic violence disturbance between Heilman’s
  husband and her son Anthony. Anthony was arrested for Battery – Domestic
  Violence. (Deposition of Heilman, p. 89, line 4 through p. 90, line 6; Exhibit 27).
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        On April 10, 2018, Pasco deputies were dispatched to Deegan’s residence

  reference an unwanted guest, her adult son Tyler Paneson. Deegan requested that

  Paneson be trespassed from the property because Deegan did not allow drugs in her

  residence. (Deposition of Deegan, p. 29, line 15 through p. 30, line 12; Exhibit 5).

        On September 16, 2018, Deegan called the Pasco County Sheriff’s Office to

  report that a man who was working on her roof stole items from her garage. The

  man was arrested and charged with grand theft. (Deposition of Deegan, p. 35, line

  20 through p. 36, line 23; Exhibit 7). On October 27, 2018, Deegan called the

  Sheriff’s Office to complain that a neighbor was illegally parking cars at the

  neighbor’s residence. (Deegan deposition, Exhibit 8).

        On March 29, 2019, Deegan called the Sheriff’s Office because Paneson was

  in her garage throwing things around. Deputies responded. She asked that Paneson

  be trespassed from the home. Two days later, Deegan called back and complained

  that Paneson was stealing out of her garage and she again wanted him trespassed

  from the property. (Deegan deposition, Exhibits 11 and 12).

        Other reports involving Deegan asking that the Sheriff’s Office come to her

  home are attached to her deposition.      Deegan emailed the agency on multiple

  occasions to make complaints and to seek services from the Sheriff’s Office. On

  April 20, 2017, Deegan emailed the agency to ask for assistance complaining that

  attorneys in New York had fraudulently sought to foreclose on her real estate.


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  (Exhibit G). On another occasion she asked to come in to discuss a theft at her

  property. (Exhibit H).6

        Defendant acknowledges that the great majority of visits to Dalanea Taylor’s

  address, in contrast to Heilman and Deegan, were POCs. (See Exhibit D to

  Brummett deposition.) However, as will be seen below, there is no consistent pattern

  of the manner in which these visits or interactions occur, either amongst the

  Plaintiffs, or even in their own experiences over time.

        The window of time involving Plaintiff Jones’ connection to this case is

  narrow, less than one year. Jones testified that the family moved to Pasco County

  in April-May of 2015. (Jones, p. 11, line 18, through p. 12, line 10; p. 14, lines 2-

  6.). The then family moved out of Pasco County in 2016. (Jones, p.23, lines 12-25).

  This corresponds to agency records because the first call for service involving the

  Jones residence was dated May 11, 2015, and the last prolific offender check at

  Jones’ residence was on May 3, 2016. (Brummet Deposition, Exhibit D, pp. 10- 11,

  cells 2 and 80).




  6
    On November 18, 2015, Deegan emailed the agency complaining about traffic on
  her street coming from a pawn shop. She asked who would enforce laws about
  traffic from the pawn shop coming onto her road, stating “[a]s property owners, we
  have a right to the protection and quiet enjoyment of our property on Amanda Ave.”
  (Exhibit I).

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        Some of the non-prolific offender visits to the Jones residence included: On

  May 11 and June 11, 2015, deputies arrived at the residence to serve civil process.

  (Jones deposition, Exhibits 2 and 5, p. 35, line 16 through p. 36, line 3). On June

  17, 2015, Donna Jones, Plaintiff Jones’ wife, called to ask for assistance because of

  a domestic disturbance between Plaintiff Jones and his son, Bobby. (Exhibit 6).

        On June 29, 2015, deputies responded because they received a report from the

  state’s Juvenile Assessment Center that Bobby Jones’ ankle monitor had been cut

  off. (Exhibit 14). Jones testified that this occurred because it was not plugged in

  correctly and that in fact between five- and 10-times deputies were called out to

  reports of that having occurred. Nothing particularly bad occurred during those five

  to ten visits. (Jones, p. 69, line 10 through p. 72, line 7).

        On August 2, 2015, deputies responded to a call from Jones’ neighbor, who

  advised that Bobby Jones was stealing electricity from her, using an extension cord

  from her home. Jones apologized and offered to pay for the electricity. (Exhibit

  18). On October 12, 2015, Donna Jones called deputies for assistance because

  numerous juveniles would not leave the house, including Bobby Jones. (Jones

  deposition, Exhibit 26). Bobby Jones was subsequently arrested on five out of

  county warrants. (Jones deposition, exhibit 31). And on November 24, 2015,

  deputies arrested Bobby at the residence on seven outstanding warrants from

  Pinellas County. (Jones, deposition, Exhibit 36).


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       1. Jones code citations and arrests

        Defendant contends that all claims by Jones, of any type, are barred by the

  statute of limitations. The last prolific offender interaction with Jones occurred in

  May 2016, more than four years prior to the filing of the initial complaint in March

  2021, and so all of Jones’ claims are barred by the statute of limitations applicable

  to §1983 actions in Florida. Chappell v. Rich, 340 F.3d 1279, 1283 (11th Cir. 2003).

  To the extent that Jones would rely on the “continuing violation” doctrine to extend

  the statute he has several problems. First, there is no authority that the doctrine

  applies based on alleged later violations as to other persons. Second, the doctrine

  does not apply to cases involving discrete violations. Third, the doctrine is narrowly

  applied to cases where a reasonably prudent person would have been unable to

  determine that a violation occurred. Lee v. Eleventh Judicial Circuit of Florida, 669

  Fed. Appx. 897 (11th Cir.,2017). Jones has testified that he believed in 2015 and

  2016 that his constitutional rights had been violated and so he cannot claim he did

  not realize he had a claim within the statute. (Jones, p. 197 lines 7-1).

        Jones was first issued a citation on October 5, 2015, not by the Sheriff’s

  Office, but by County Code Enforcement, for failing to store a trailer with jet skis

  either in a garage or behind the residence. Jones did not appear at the hearing, and

  he was arrested on a warrant for failure to appear on January 4, 2016. (Exhibit J).




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           On December 26, 2015, a deputy went to the Jones residence to serve a

  warrant. He observed jet skis on a trailer and issued citations for two violations (jet

  skis on a trailer, and a utility trailer parked in front of the house). Jones took the

  citation and signed it. (Jones Deposition, page 3 of Exhibit 43.) Note that BWC for

  this event is to be filed with the Court, non-electronically. (See Dkt. 114). Jones

  once again failed to appear, and a warrant was issued for his arrest. (Exhibit K).

           Jones claimed in deposition that this was the only code violation citation he

  actually ever received. (See Page 5 of Exhibit 43.) Jones testified that he went to

  court on the scheduled day for the citations, February 25, 2016, but that he could not

  get into the courthouse. He gave two different explanations: first that it was because

  when he arrived court had already started and he was not allowed into the courtroom;

  second that the Fire Marshall ejected everyone from the building. Jones, p. 143, line

  13 through p. 145, line 7.

           A warrant for failure to appear was issued and Jones was arrested. He paid a

  $130 fine7 in relation to the failure to appear and the judge took the fine proceeds

  and used them to satisfy the code citations. (Jones, p. 148, line 18 through p. 149,

  line 21). Jones did not protest this approach by the state court. (Jones deposition, p.

  232, line 17 through p. 233, line 4).




  7
      In an errata sheet he corrected this to $148.
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        Jones received three additional citations on March 28, 2016: for trailers

  visible on each side of the property, overgrown grass, and not having house numbers

  legible from the roadway. (Jones deposition, Ex. 72). The citation included a court

  date of May 19, 2016. (Jones Deposition, Ex. 74). On March 29, 2016, deputies

  returned with a search warrant.      According to deputies’ reports for the two

  interactions, Jones confirmed on March 29, 2016, that he had received the March

  28, 2016, citations from his son. (Exhibit 72). In his deposition, however, Jones

  flatly denied having received the citations from his son. (Jones, p. 206, line 25

  through p. 209, line 19).

        Jones was then shown BWC from the deputies’ visit to his residence in

  reference to the search warrant on March 29, 2016. This video clearly showed Jones

  admitting that he had received the citations from his son. He further stated that he

  understood the deputies, including the May 19, 2016, court date. (Exhibit 73 to the

  deposition, included in submitted BWC, Extraction 1.116012033, see time stamps

  1:00 to 1:50).8

        The Court should reject any claim by Jones that any of his arrests for failure

  to appear are unconstitutional at all because they were based on warrants. An arrest



  8
    When confronted with his testimony as to these facts and the BWC showing it to
  be false, Jones offered an incoherent explanation that he believed the deputies were
  talking about some other citation: “I heard something come out of his mouth saying
  some dates about some kind of court.” (Jones, p. 211, lines 5-8).
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  based on a facially valid warrant ordinarily does not violate the Fourth Amendment.

  Williams v. Aguirre, 965 F.3d 1147, 1162 (11th Cir.2020).

        Jones was also arrested on March 29, 2016, after deputies executed a search

  warrant for the residence. When deputies entered the home the smell of marijuana

  was overwhelming. Deputies found marijuana in numerous places, including the

  freezer in the home and on the driver’s side of Jones’ vehicle. Interviews with the

  occupants established that Plaintiff Jones consumed marijuana in the presence of a

  juvenile. The charges were later dismissed. (Exhibit N to this motion).

        In his deposition, Jones denied that marijuana was in the residence. (Jones

  deposition, p. 235, line 4 through p. 236, line 2). However, Jones admitted that he

  could not deny that Talia Jablon, who was dating Jones’ son, told deputies during

  this incident that Plaintiff Jones “was always smoking marijuana inside the

  residence.” (Exhibit 76 to deposition of Jones, p. 4, p. 237, line 21 through p. 238,

  line 12). Jones cannot deny that his arrest was supported by probable cause.

        No arrest of Jones has been shown to be related to ILP, much less caused in

  the Monell sense by ILP. The Court should grant summary judgment to the Sheriff

  on all of his claims based on the statute of limitations and because they are meritless.

       2. Heilman code citations and arrests.

        The first code citation issued to Heilman occurred on March 1, 2016.

  Warnings were given to her that she had no numbers on her mailbox, and upon


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  recheck she still had no numbers. (Deposition of Heilman, Exhibit 2). She contested

  the citation, adjudication was withheld, but she was ordered to pay a fine of $30,

  plus $56 in fees, which she paid. She was also ordered to come into compliance

  with code. (Deposition of Heilman, p. 16, line 22, through p. 18, line 13; See also

  Exhibit 3 to the deposition).

        Heilman received citations for having chickens in her backyard on March 3,

  2016. She admits she had five chickens in the backyard and acknowledges the

  citation. Adjudication was withheld, she was fined $100, plus $56 in fees, and

  ordered to come into compliance, which she did. (Deposition of Heilman, p. 18, line

  15, through p. 21, line 4; See also Exhibit 3 to deposition). The issuance of this

  code violation citation was captured on BWC and Defendant urges the Court to

  review this four minute video as it is disturbing. (See BWC Exhibit 28 to deposition,

  identified as “Body Cam Footage Extraction 1.1 County Ordinance Chickens.”) (To

  be filed per Dkt. 114).

        In the video, deputies approached the Heilman residence to deliver the

  citation. Initially Heilman’s husband, Mr. Zander, came to the door and began

  cursing at deputies stating he could have “backyard motherfucking chickens” in his

  backyard if he wanted to. Plaintiff Heilman came to the door and told deputies to

  “Get the fuck out of here!” Deputies were calm and professional throughout.




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         On October 18, 2017, Heilman was given a code violation citation for having

  an accumulation of junk in her front yard, including a cinder block, some fencing,

  and a child’s toy car. (Heilman deposition Exhibit 5, p. 25, lines 11-24). She

  corrected the problem prior to the scheduled hearing and did not have to pay any

  fines. (Id., p. 26, lines 8-19).

         Heilman was arrested twice. The first time was on September 16, 2016. Prior

  to that, deputies were investigating an armed residential burglary and it was

  suspected that Heilman’s son, Donnie, had used proceeds from the burglary to

  purchase a motorbike. On September 15, 2016, Deputy Andrew Denbo spoke to

  Heilman concerning the investigation and she provided false information, claiming

  she purchased the dirt bike for Donnie using her own money. (Deposition of Denbo,

  p. 80, lines 9-23; Exhibit 21 to deposition).

         Denbo returned to arrest Heilman for giving the false information and as he

  approached the residence Heilman quickly departed in her vehicle, with her young

  daughter. Denbo pursued her and pulled her over, ordered her to step out as he was

  placing her under arrest. She physically braced herself and pulled away from the

  deputy, scratching the deputy using her fingernails to dig into his skin, trying to get

  away. (Exhibit M to this motion).

         Heilman was arrested and charged with battery on a law enforcement officer

  and resisting arrest without violence. (Exhibit M, p. 3-4). Video of this incident


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  was captured on BWC. ((Extraction_1.1)_BATTERY_ON_LEO-14; See Dkt. 114).

  She pled guilty to and was convicted of three misdemeanors, battery, resisting an

  officer without violence, and giving false information to an officer. (Heilman, p. 21,

  line 16, through p. 22, line 10; Exhibit 4 to deposition, p. 3).

        On September 18, 2018, deputies came to the Heilman residence because they

  had a pick-up order for one of the children. Heilman answered the door and abruptly

  swung the door open and into Deputy Cpl. Paul Reagan with enough force that he

  had to steady himself. Heilman was arrested and charged with battery on a law

  enforcement officer. She pled guilty and adjudication was withheld, she was

  sentenced to 24 months’ probation. (Deposition of Heilman, p. 26, line 20, through

  p. 27, line 9; see also Exhibit 6 to deposition of Heilman). This incident was also

  captured     on    BWC,       which      will    be     filed      with   the   Court.

  ((Extraction_1.1)_BATTERY_ON_LEO-6; See Dkt. 114).

        Heilman’s guilty pleas or convictions foreclose any claim for a Fourth

  Amendment violation under Heck v. Humphrey. The first arrest, the 2016 arrest, is

  beyond the statute of limitations. And neither arrest actually has a causal connection

  to ILP. The first arrest was generated when Heilman lied to Sgt. Denbo during a

  criminal investigation.    The second arrest occurred not when deputies were

  conducting a prolific offender check but rather when deputies went to the residence

  to pick up Donnie on a pick up order.


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        D.       Notable videos.

        Plaintiffs intend to file brief videos, excerpted from BWC, one for each

  Plaintiff. Defendant intends to file all BWC video as Defendant believes it necessary

  to demonstrate that there were many interactions between Plaintiffs, their prolific

  offender children, and Pasco deputies which were benign, pleasant, encouraging to

  the Plaintiffs or their children to avoid criminal activity, and even greeted sometimes

  with thanks.

        In June 2018, deputies were searching for Paneson based on probable cause

  that he had stolen a kayak. (Exhibit P). On June 6, 2018, deputies went to Deegan’s

  home looking for Paneson. Video shows that her home has a fence with a no

  trespassing sign at the front of the home, with a wooden stick propped up by another

  wooden stick at the end of the chain link fence. (BWC for 2018-06-06 Extraction

  1.1 AXON Flex_2_2018-06-06_0836). The video at the 1:50 mark shows deputies

  climbing over the wooden portion of the fence and going onto the property, looking

  for Paneson. However, on other occasions in the same period, deputies stayed on

  the street-side of the fence. For example, on June 5, 2018, the day before the above-

  referenced incident, deputies came to the residence, looking for Paneson, and spoke

  to a young lady, who claimed he was not there. Deputies remained on the street side

  of the fence. (BWC Extraction_1.1_AXON_2_Video_2018).




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        Similarly, on June 8, 2018, deputies returned looking for Paneson and BWC

  shows they stayed on the street side of the fence yet again. This time they spoke

  with Deegan, who was home cleaning up debris in her front yard, for which she had

  apparently been cited.     (BWC Extraction_1.1_AXON_Flex_2_Video_2018-06-

  08_1031). Beginning at the 4:20 mark deputies asked if they could come on to the

  property. Deegan declined to give permission to deputies to enter and they stayed

  on the public side of the fence.

        Beginning at the 16:30 mark, deputies called a code enforcement corporal and

  Deegan spoke to the corporal, who told her that if she helped locate Paneson deputies

  would work with her on the code citations by getting her more time to come into

  compliance or speaking to the County Attorney to resolve the citations. Deputies

  reiterated that their goal was to get Paneson safely into custody. At the 26:50 mark

  deputies again asked for permission to check the property, to look in the RV to make

  sure no one was living there, Deegan refused again and deputies did not enter the

  property.9

        A prolific offender check was performed on Dalanea Taylor on September 29,

  2017. Taylor came to the door at the 7-minute mark on the video. Deputies asked


  9
    Deegan negotiated an agreement with the County Attorney whereby she paid $250
  to resolve the referenced citation, among a total of five citations, plus came into
  compliance, i.e. put numbers on the house and removed debris from her yard.
  (Deegan deposition, p. 57, line 1 through p. 63, line 6. See Exhibits18, 19, and 20
  to Deposition).
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  her how she was doing and if she was staying out of trouble. The interaction was

  benign      and      lasted     less      than      three     minutes.      (BWC

  Extraction_1.1_AXON_Flex_2_Video_2017-09-29_0832).

        A check of Dalanea was performed at 7:45 a.m. on January 1, 2018. Taylor’s

  grandmother came to the door and complained about the hour of the check. A

  conversation with Taylor occurred and was benign. Taylor stated that she and her

  sister, who was also pregnant, were planning to move. The interaction lasted just a

  few minutes. Extraction_1.1_AXON_Flex_2_Video_1028-01-01_742).

        A check of Dalanea was performed on February 25, 2018. She had a very

  pleasant conversation with a female deputy and the two discussed the best morning

  sickness drugs. Ms. Taylor was encouraged to stay away from crime. At the

  conclusion the deputy told her they were required to check on her from time to time

  and Taylor said she appreciated it. (Extraction_1.1_AXON_Flex_2_Video_2018-

  02-25_1115).

        A prolific offender check was attempted at Heilman’s residence on May 23,

  2018. Heilman reported that Donnie was staying out of trouble and in touch with

  his probation officer. She joked with deputies about how “ferocious” her small

  “guard dog” was. The interaction was about two minutes long and was benign.

  (Extraction_1.1_AXON_Flex_2_Video__2018-05-23_1527).




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        There are several other notable examples of BWC showing deputies

  encouraging the children of Plaintiffs Heilman and Jones, in a positive way, not to

  commit criminal activity. On November 7, 2017, deputies visited the Heilman

  residence and spoke to Donnie McDougall. McDougall said his 18th birthday was

  coming up and deputies explained to him the advantage of not committing a crime

  after 18 because he would not have to report juvenile arrests to a potential employer.

  (Extraction 1.1 AXON_Flex_2_Video_2017-11-07_0516-2).

        On September 22, 2015, deputies went to the Jones residence and spoke to

  Plaintiff and his son Bobby. Beginning at the 7-minute mark, deputies explain that

  the Sheriff is placing Bobby and his friends who are committing crimes on notice

  that it will not be tolerated. Deputies state that the Sheriff wants to encourage kids

  to grow up and become good citizens. Bobby admits he knows that the majority of

  property crimes being committed are by juveniles and deputies encouraged Jones

  not to continue to commit crimes because he might face felony charges and miss out

  on years of his life. At 18:40 mark, deputies reiterate that Jones “seem[s] like a good

  kid,” his record is “not that bad.” ((Extraction_1.1)_Jones_interview).

        On August 9, 2020, deputies came to the Heilman residence and provided

  Anthony McDougall with a resource guide of local services, including employment

  opportunities. This was explained to Mr. Zander (at the 2:20 mark), who responded

  “That would be great.” Anthony came out and deputies explained that the guide was


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  provided to help Anthony from making mistakes in the future. At the 4:35 mark,

  Anthony states “I really appreciate that.”

  (Extraction_1.1)_Axon_Body_3_Video_2020-08-09_1539).

                II.     Argument

          There is no constitutional violation under Count I. Neither probable cause nor

  reasonable suspicion is required to approach a citizen’s door and knock with the

  intention to ask questions. “The Fourth Amendment, which prohibits unreasonable

  searches and seizures by the government, is not implicated by entry upon private

  land to knock on a citizen's door for legitimate police purposes unconnected with a

  search of the premises. U.S. v. Taylor, 458 F.3d 1201, 1204 (11th Cir.2006) (internal

  citations omitted).

          There are cases which discuss reasonable suspicion in connection to knock

  and talks, but they deal with situations where police have no prior reason to approach

  the home and do so in connection with searches. See e.g. U.S. v. Ratcliff, 725

  Fed.Appx. 894, 901 (11th Cir.2018) and U.S. v. Victores, 2011 WL 3424449 * 2

  (S.D.Fla.2011). These cases seem to rely on U.S. v. Tobin, 923 F.2d 1506 (11th

  Cir.1991) (en banc) for this point, but that case dealt with probable cause to make a

  search, and only tangentially touched on reasonable suspicion as the reason that

  agents approached a house under surveillance, not that such was necessary. Id., p.

  1511.


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        There is no authority for the proposition that a certain number of knock and

  talks is constitutionally unreasonable. And compare the disparity between Plaintiffs.

  The majority of interactions with Taylor were prolific offender checks. But the

  range of reasons for deputies to interact with Heilman or her family for other reasons,

  including calls for service initiated by them, significantly outnumber the prolific

  offender checks at her residence.

        There is no constitutional violation under Count II, the First Amendment

  freedom of association claim. The First Amendment protects expression but also

  protects claims of personal relationship association, which involve “the freedom to

  carry on certain intimate or private relationships,” and these claims “may take

  various forms.” Bd. of Directors of Rotary Int'l v. Rotary Club of Duarte, 481 U.S.

  537, 545 (1987). Plaintiffs here have not demonstrated that their rights of familial

  relationships have been interfered with to the point of being unconstitutional. The

  mere fact that the parents of prolific offenders (or children with warrants) are

  incidentally burdened by prolific offender checks is not an unconstitutional

  infringement on such a right. Parks v. City of Warner Robins, Ga., 43 F.3d 609, 614

  (11th Cir. 1995) (holding that policy which increased costs to marry created only an

  incidental burden on marriage). See also Johnson v. Pomeroy, 294 Fed.Appx. 397

  (10th Cir. 2008) (consideration of spousal income for benefits created only an

  incidental burden).


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        Plaintiffs have not demonstrated any significant change in any of their

  relationships with their children as a direct result of prolific offender checks.

  Deegan was estranged from her son because he was stealing from her and he has

  since died of a drug overdose. Donnie McDougall is in state prison. Robert Jones

  lost track of Bobby. (Jones, p. 20, line 22 through p. 21, line 7). None can connect

  a substantial change in their familial associations directly because of ILP.

        There is no constitutional violation under Count III, procedural due process.

  To succeed on a procedural due process claim, a plaintiff must show (1) a deprivation

  of a constitutionally-protected liberty or property interest, (2) state action, and (3)

  constitutionally inadequate process. Arrington v. Helms, 438 F.3d 1336, 1347 (11th

  Cir.2006). First, Plaintiffs Jones, Heilman, and Deegan have not shown that by their

  children being on a prolific offender list they (meaning the Plaintiffs) were deprived

  of a constitutionally protected liberty or property interest.

        Plaintiffs complain that they or their children were not given notice that they

  were on a prolific offender list or provided an opportunity to get off of it. Being so

  designated by the Sheriff’s process of identifying prolific offenders does not entitle

  a person to formal notice or opportunity to be heard because there is no deprivation

  caused by the designation. Arrington v. Helms, 438 F.3d 1336, 1347-48 (11th

  Cir.2006). Moreover, Plaintiffs now claim that they thought their rights were being

  violated at the time but none made formal complaints to the Sheriff’s Office.


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        Plaintiffs also complain about code violation citations they received at various

  points in the past. They contend that their constitutional rights were violated in two

  respects: a) they were more prone to receive a citation because the Sheriff’s ILP

  approach called on deputies to pay particularly close attention to the residences of

  prolific offenders; and b) there are individual instances in some, but not all cases,

  that citations were used in a carrot and stick approach to seek assistance in locating

  their prolific offender children if they were not present at the time of a deputy visit.

        First, the Court has previously dismissed the claim that would seem most apt

  to these issues, the equal protection claim. Plaintiffs did not seek to amend the

  complaint and so the equal protection claim is abandoned. But assuming Plaintiffs

  now seek to shift this claim to be a due process claim, it still fails. In all instances,

  the record indicates Plaintiffs paid the citation fines, either directly, through

  compromise, or in the case of Plaintiff Jones indirectly. Plaintiffs do not have a

  procedural due process claim based in simple issuance of the code violation citations

  because they were provided a hearing for the citations and that satisfies procedural

  due process, even if they do not take advantage of such a hearing. Ficken v. City of

  Dunedin, Fla., Case No. 8:19-cv-1210, 2021 WL 1610408, *10-11 (M.D.Fla. April

  26, 2021) (appeal filed, May 25, 2021). Additionally, because the code citation cases

  concluded with some sort of payment by them of fines and the Plaintiffs in fact admit

  that the citations were valid, Heck v. Humphrey bars any claim. Parker v. Town of


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  Palm Beach, 2017 WL 11537901, * 4 (S.D.Fla. August 16, 2017) (citing authorities

  that Heck bars federal claims seeking to undo citations, including ordinance

  violations).

        Deegan claims that her rights were violated with a specific set of code

  citations because deputies in June 2018 issued them after having crossed over her

  fence line without a warrant or exigent circumstances. This was limited to one

  occasion and even if there are others, they are sparse and not nearly sufficient to

  represent an official custom. BWC within days on either side of that incident shows

  deputies not crossing the fence, belying a claim of a custom of doing so.         The

  Plaintiffs also have no evidence that the Sheriff, the final policymaker, was aware of

  any incident, or group of incidents, or of any unconstitutional conduct and that he

  was deliberately indifferent in failing to address it under Monell.

        Plaintiffs complaint that they were more likely to receive code citation

  violations than non-prolific offender residences. The Sheriff’s Office deemed a

  variety of locations to be problematic, interfering with the quality of life for

  surrounding neighborhoods, including but not exclusively prolific offender

  residences. The ILP manual states that the Sheriff’s Office seeks to reduce fear and

  improve quality of life by nuisance abatement. This includes knock and talks and

  engaging the use of the code enforcement corporals. (Exhibit C, pp. 30-31). As

  testified to by Mark Celeste, a code enforcement corporal from 2016 to 2019, he


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  focused on homes with many calls for service, for quality of life issues, for drug

  activity, and the like. (Celeste deposition, p. 10, line 14, through p. 13, line 13.) 10

        Plaintiffs employed a statistics professional, Michael Carrasco, to compare

  the frequency of issuance of code citations to residences where prolific offenders

  lived, versus frequency of code citations issued to non-prolific offender residences.

  There are several significant problems with this analysis which render the

  conclusions of Mr. Carrasco to be of no value to the Court. First, no analysis was

  done as to whether any of the code citations issued were objectively correct or

  incorrect. (Carrasco, p. 8, lines 1-4). Second, in making the comparison of

  frequency of citations to prolific offender versus non-prolific offender addresses, the

  analysis assumed that code citations were issued to the subject addresses during the

  same period that a prolific offender had that as his or her address. (Id., p. 36, lines

  1-19). We know this is incorrect simply from examining the Plaintiffs’ prolific

  offenders because their periods of time as prolific offenders varied from months to
                   11
  several years.        A given citation may have been issued at a residence when the

  prolific offender lived there, but Carrasco had no way to determine that critical


  10
    The agency has since discontinued the code enforcement corporal positions. The
  2021 ILP directive, to be filed under seal, reflects this change in that it encourages
  deputies to engage county code enforcement, if applicable.
  11
     As further proof that issuance of code citations was not so regular or systemic as
  to constitute an unconstitutional custom, note that there was no code violation
  citation ever issued for Plaintiff Taylor during the time she was a prolific offender.
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  underlying fact. Third, the analysis is not tied to the underlying reason for any given

  visit to a property which resulted in a code citation being issued. Thus, there is no

  way for Mr. Carrasco to be able to conclude that a given citation, or any of them,

  was issued in connection to ILP. The code citations may just as well have been

  issued because the property was a nuisance drug location as much as because a

  prolific offender generated it. (Id., p. 36, line 20, through p. 40, line 5).

        There is no constitutional violation under Count IV, the substantive due

  process claim. To viably present such a claim, Plaintiffs must show that the

  Plaintiffs’ rights were violated in a manner that “can properly be characterized as

  arbitrary, or conscience shocking, in a constitutional sense.” Collins v. City of

  Harker Heights, 503 U.S. 115, 118 (1992); County of Sacramento v. Lewis, 523 U.S.

  833, 847, n.8 (1998) (the threshold question is “whether the behavior of the

  government officer is so egregious, so outrageous, that it may fairly be said to shock

  the contemporary conscience”).

        None of the interactions documented here are a substantive due process

  violation, and even if Plaintiffs could find one or two such instances their causal

  connection to ILP would only be in a “but for sense,” not a widespread practice with

  the force of law and therefore constituting a custom, defeating Monell causation.

        To the extent the Court would still entertain some form of it despite the order

  dismissing the claim, there is no viable equal protection claim under Count V. The


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  Sheriff’s ILP and prolific offender programs do not target a suspect class. U.S. v.

  Castillo, 899 F.3d 1208. 1213 (11th Cir.2018). Suspect classification refers to such

  things as “race, alienage, national origin, gender, or illegitimacy.” Doe, 410 F.3d at

  1346 (quoting Haves v. City of Miami, 52 F.3d 918, 921 (11th Cir.1995)). Plaintiffs

  have not shown that they belong to a suspect class and therefore the Court should

  reject employing a heightened scrutiny test, instead employing a rational basis test,

  with ILP easily meeting that standard. (Dkt. 81).

        Finally, Plaintiffs have more than once announced that their priority here is to

  seek declaratory and prospective injunctive relief. Declaratory relief is improper

  because ILP did not violate their constitutional rights. As to injunctive relief, none

  of the Plaintiffs or their children is currently a prolific offender and Plaintiffs have

  not shown they likely will be again. To satisfy the injury-in-fact requirement for

  constitutional standing, a plaintiff seeking injunctive relief in relation to future

  conduct “must show a sufficient likelihood that he will be affected by the allegedly

  unlawful conduct in the future.” Houston v. Marod Supermarkets, Inc., 733 F.3d

  1323, 1328 (11th Cir. 2013) (internal quotation marks omitted). This requires that

  plaintiff establish “a real and immediate—as opposed to a merely conjectural or

  hypothetical—threat of future injury.” Id. at 1334. (internal quotation marks

  omitted); City of Los Angeles v. Lyons, 461 U.S. 95, 97-98 (1983) (past injury

  insufficient to confer standing for prospective relief).


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        It is axiomatic that “[i]njunctive relief should be limited in scope to the extent

  necessary to protect the interests of the parties.” Keener v. Convergys Corp., 342

  F.3d 1264, 1269 (11th Cir.2003). Plaintiffs have not articulated the precise contours

  of what injunctive relief would even look like in this case. While the Court has the

  authority to restrain a local official from acting unconstitutionally, deputies are

  already legally bound to follow the Constitution.

        Plaintiff’s operative complaint seeks such vague prospective injunctive relief

  as forbidding the Sheriff from enforcing any aspect of ILP “insofar as it authorizes

  or requires PCSO deputies to initiate or engage in searches and seizures that violate

  the Fourth Amendment ….” (Dkt. 41, ¶ F).           These are referred derisively in the

  caselaw as “obey-the-law” injunctions and are usually inappropriate because the

  inunction is no more specific than the law already is. S.E.C. v. Goble, 682 F.3d 934,

  950 (11th Cir.2012). The Court should not entertain injunctive relief for anything

  short of a well-established, well-defined, set of constitutional violations, grounded

  in concrete examples that truly compel the conclusion that an injunction or some sort

  of prospective relief is justified and required.

        Nor should the Court simply substitute Plaintiffs’ political judgment as to

  whether the program is effective or could be run differently for the Sheriff’s law

  enforcement judgment as to deployment of his resources. Plaintiffs’ subject matter

  expert, David Kennedy, issued a report in this case literally complaining about the


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  size of the STAR boxes, which is where focused deterrence is often centered based

  on high crime rates. (Deposition of Kennedy, Exhibit 6, Expert Report, p. 16). He

  also criticized the agency’s decision to focus on Big Four crimes instead of his own

  version of focused deterrence from the likes of Baltimore, Boston, and New York,

  which centered around violent crime. (Kennedy, p. 7, line 14, through p. 10, line 4).

         The defense expert, Dr. Richard Hough, has explained that Pasco’s version of

  ILP is an extension of well-recognized principles of focused deterrence for the

  unique needs of that County. These principles are employed in some fashion by just

  about every one of the 18,000 law enforcement organizations in the country.

  (Hough, Exhibit A, pp. 8 (discussing focused deterrence), pp. 12-13 discussing use

  of same by all law enforcement agencies)). “That criminologists and other academics

  differ as to frameworks, theories, and outcome evaluations is as predictable as the

  sun rising in the east.” (Id., p. 20).

         Mr. Kennedy’s criticisms, even if he were absolutely right, are simply not of

  constitutional dimension. Absent an unconstitutional policy or custom, that can be

  said to represent Monell policy or custom, the Court should not enter an injunction

  vaguely ordering the Sheriff and his deputies to “obey the law,” or directing local

  law enforcement as to deployment of its resources, especially not based on the vague

  and inconsistent criticisms of Plaintiffs here. The Court should grant summary

  judgment to the Sheriff on all claims, and deny all relief requested by Plaintiffs.


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                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 28th day of June, 2022, I electronically

  filed the foregoing with the Clerk of the Court by using the CM/ECF system which

  will send a notice of electronic filing to the following: Ari S. Bargil, Esquire

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